Case 2:10-md-02179-CJB-DPC Document 11988-23 Filed 12/16/13 Page 1 of 3




                    EXHIBIT 22
         Case 2:10-md-02179-CJB-DPC
                <glenlernerme.com> Document 11988-23 Filed 12/16/13 Page 2 of 3
To: glen lerner
Reply-To: lhs3law <lhs3law@hotmail.com>
Vho the hell would have thought that you and I each having a minority interest in a preexisting company would
e a conflict if interest.


Lionel Sutton

Sent via the Samsung Galaxy Note® II, an AT&T 4G LTE smartphone


       Original message
From: glen lemer <glenlcmer(rne .com>
Date: 07/08/2013 4:40 PM (GMT-05:00)
To: lhs3law <lhs3law@hotmail.com>
Subject: Re: Going forward


Well wouldn’t that have made sense not to take the job in the first place with you being a salaried member of
Crown? You were getting a salary long before you took that job and our crown agreements document
everything. You said Mr. Juneau knew all this.

Sent from my iPhone

 n Jul 8, 2013, at 3:24 PM, lhs3law <lhs3law@hotmail.com> wrote:

> If there is any chance that Chris can get her job back, I can’t have you paying me a salary. Talk to Joey and
Tim and find out how many points 10k/rn for 12 months is worth to each. Hopefully I can get my stuff
straightened out soon.
>
>
> Lionel Sutton
>
> Sent via the Samsung Galaxy Note® II, an AT&T 4G LTE smartphone
>
>
>        Original message
> From: glen lerner <glenlernerme.com>
> Date: 07/08/2013 11:27AM (GMT-05:00)
> To: Joey Dartez   j dartez@hotrnai I .coin>,Tim El mhurst <montanae1rno(yahoo. com>,Tiger Sutton
<lhs3law@hotmail.com>
> Subject: Going forward
>
>
> [Icy guys,
>
  We need to figure out where we stand with me paying salaries going forward. Obviously, this is not the cake
  alk any of us envisioned. I’ve put almost $2M more in than expected. I know you guys want to keel) a
majority but thats not going to happen and never should have happened from the start. You have no skin in the
game but time and you’ve been paid for a lot of that time with a salary. The only reason we are still alive is
                                                        9
    because of Case   2:10-md-02179-CJB-DPC
               my hiring                           Document
                          of Mike. He has the engineering know11988-23
                                                                how to giveFiled 12/16/13andPage
                                                                             us credibility  solve3the
                                                                                                    of 3problems
    that have been created from shoddy construction, oversight and management of the machine.
    >
    .> The best use of money right now is paying salaries and going forward, not paying $500k to fix the Gen 1
      .iachine at this time. The way things have gone, I’m not confident that if its fixed it will be without
     blemish. Nevertheless, I want to keep pushing forward and feel we have enough momentum to do so, even if
     there have been a few times in the last few months where I thought we were done. Also, I believe NAC will
     come back to us and its not worth it to put this money into the machine solely to test for them.
    >
    > I will commit to monthly salaries for twelve months which began on June 1 and other incidental expenses. If
    we get a contract with AFIMSA or Foresight, I want Shawn to get 3% equity in the business. He has been a
    godsend and is one of the most connected people on the planet and gets things done. Secondly, his deals he is
    proposing will require a 10% commission to the parties that brought the deals. We have to consent to that
    because without these people there would be no potential deals. Secondly, these deals if finalized are not one
    time deals but could be for multiple projects. Gentlemen, no one wants to be diluted but the truth is you all own
    17% of nothing. If we catch a few breaks we can all own a smaller piece of something big and
    sustainable. Ultimately we will all be diluted but who cares if you own a few points of a billion dollar company
    and you never put up one penny! George Zimmerman, the owner of Mens Warehouse, brought in investors to
    grow the business and eventually was the biggest shareholder with 3.88 percent of the shares. Still the value of
    his shares when he got kicked out was over $70M.
    >
    > Its absolute BS that I had to give up my equity to bring in our CEO and the attorney (who I also pay). If
    Shawn gets vested with one of these deals then the three of you and I will be diluted per our pro rata shares
    (cost each of you about half a point and me 1.5 or so). I am not taking any points from Mike. He’s done way
    too much compared to anyone else and is the only thing between us and failure. If you want to keep thinking
    mall we will lose SHawn and ultimately Mike and I just have another write-off. We have something
ç     re. You’ve been asked to do very little heavy lifting as of late and I’ve put it all on Mike’s lap. Let him take
    The ball and run with it. We are making headway but we need a signed deal soon.
    >
    > Let me know what you think is fair equity deal for payment of salaries for the year.
    Begin forwarded message:


    From: lhs3law <lhs3law(hotmail.com>
    Subject: Re: Going forward
    Date: July 9, 2013 12:09:42 AM EDT
    To: glen lerner <qlenlernerme.com>
    Reply-To: lhs3law <lhs3lawhotmail.com>
    Ijust don’t get it. I don’t even know the names of any of your other claimants. From what I heard, there was an
    anonymous call that I was referring cases to Jon while I was working at the claims office. It wasn’t even the
    Thonn case because I told Pat about that case before I started. When this first came up i told Pat that the only
    case i sent was thonn before I started. He told me that he already knew about Thonn because he remembered
    that I told him. If this is only about crown, they can clearly see that I never had anything to do with your cases.
    Sooner or later I will have to sue to get to the bottom of this and clear my name.


        onel Sutton



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